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 13   D and D Marketing, Inc., d/b/a T3Leads,
      Grigor Demirchyan, and Marina
 14   Demirchyan
 15

 16                        UNITED STATES DISTRICT COURT
 17                       CENTRAL DISTRICT OF CALIFORNIA
 18                                WESTERN DIVISION
 19   Consumer Financial Protection Bureau, )   Case No.     2:15-cv-09692-PSG(Ex)
                                            )
 20                                         )   Hon. Philip S. Gutierrez
                                            )
 21                    Plaintiff,           )   (1) DEFENDANTS’ NOTICE OF
                                            )   MOTION & MOTION FOR
 22         v.                              )   CERTIFICATION OF
                                            )   INTERLOCUTORY APPEAL &
 23                                         )   CONCOMITANT STAY; (2)
                                            )   [PROPOSED] ORDER (Lodged
 24   D and D Marketing, Inc., d/b/a        )   Separately)
      T3Leads, Grigor Demirchyan, and       )
 25   Marina Demirchyan,                    )   Hearing Date:     March 6, 2017
                                            )   Hearing Time:     1:30 p.m.
 26                                         )   Courtroom:        6A
                                            )   Courthouse:       First Street
 27                    Defendants.          )
                                            )
 28                                         )
        DEFENDANTS’ MOTION FOR CERTIFICATION OF INTERLOCUTORY APPEAL & CONCOMITANT STAY
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  1   TO ALL PARTIES HEREIN AND THEIR ATTORNEYS OF RECORD:
  2         Notice is hereby given that Defendants D and D Marketing, Inc., d/b/a T3
  3   Leads (“D&D”), Grigor Demirchyan (“Grigor”), and Marina Demirchyan
  4   (“Marina”) (collectively “Defendants”) hereby move the Court for certification that
  5   the Court’s November 17, 2016 order denying Defendants’ motion to dismiss is
  6   appropriate for an immediate, interlocutory appeal. 28 U.S.C. § 1292(b). This
  7   motion will be heard on March 6, 2017 at 1:30 p.m. in the United States District
  8   Court, Central District of California, First Street Courthouse, located at 350 W.
  9   First Street, Los Angeles, CA 90012, by the Honorable Philip S. Gutierrez in
 10   Courtroom 6A. In addition, Defendants move for a stay of the District Court
 11   proceedings pending the completion of the appellate proceedings.
 12         This motion is based on the controlling questions of law as to which there is
 13   substantial ground for difference of opinion. In addition, an immediate appeal will
 14   materially advance the ultimate disposition of this litigation. Accordingly,
 15   Defendants will ask the District Court to certify the following questions for review:
 16         1)     Given the Court’s holding that the Bureau is unconstitutionally
 17   structured, what is the proper remedy for this constitutional defect?
 18         2)     Whether a party is barred from advancing an as-applied challenge to
 19   the constitutionality of a statute, based on the premise that the statute is not facially
 20   vague, where a novel interpretation of the statute may encourage its discriminatory
 21   enforcement? A subsidiary, threshold question is the proper test for evaluating
 22   such challenges.
 23         This motion is based on the fact that further proceedings in this litigation
 24   will be burdensome and extremely expensive, both for the parties and for the
 25   District Court. The relief requested is further justified because this Court’s order
 26   addressed legal issues of substantial practical importance and widespread
 27   applicability with significant implications for the entire financial services industry,
 28   thus warranting interlocutory appellate review.
                                                  1

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  1         Finally, because a post-trial appeal of this Court’s final judgment will be
  2   required by the losing party, permitting an immediate appeal of the Court’s ruling
  3   would promote, rather than undermine, judicial economy by preventing protracted
  4   and costly discovery and an unnecessary trial and subsequent appeal. Interlocutory
  5   review is thus absolutely necessary.
  6         The Motion is made following conferences of counsel, pursuant to C.D. Cal.
  7   R. 7-3, which took place on December 13 and 16, 2016. The Motion will be made
  8   based upon this notice, the attached motion, and the District Court’s November 17,
  9   2016 order, as well as the records contained in the Court’s file in this matter
 10   (including the related two actions against co-Defendants Dmitry Formichev and
 11   Davit Gasparyan), and such further evidence, whether documentary or oral, as may
 12   be presented by the time of the noticed hearing.
 13

 14
                                      Respectfully submitted,

 15   DATED: December 27, 2016        WILSON, ELSER, MOSKOWITZ,
 16
                                        EDELMAN & DICKER LLP

 17

 18                                   By: /s/ Robert Cooper
                                             Robert Cooper
 19                                          Attorneys for Defendants,
 20                                          D and D Marketing, Inc., d/b/a T3Leads,
                                             Grigor Demirchyan, and Marina
 21                                          Demirchyan
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   1                  MEMORANDUM OF POINTS & AUTHORITIES
   2   I.     The Parties
   3          D&D is a lead aggregator that is in the business of receiving consumer data
   4   from lead generators, and selling the data as leads to small-dollar lenders and other
   5   lead purchasers. D&D’s automated “ping tree” system matches the leads to
   6   parameters set by independent lenders and other lead purchasers to whom D&D
   7   sells the leads. A consumer who submits information on a lead generator’s
   8   webpage is directed, through D&D’s ping tree, to a lender’s webpage as soon as
   9   possible (if the lender chooses to accept the consumer data), where the consumer
  10   can review the terms of the offered loan and ultimately decide whether to proceed
  11   with the loan transaction. Grigor and Marina are the two current principals of
  12   D&D.
  13          The Consumer Financial Protection Bureau (“Bureau”) is a federal agency,
  14   recently created by Congress to enforce the Consumer Financial Protection Act
  15   (the “CFPA”), 12 U.S.C. § 5481 et seq.
  16   II.    Procedural Background
  17          A.    The operative complaint
  18          The Bureau has sued D&D and its principals under the CFPA, seeking
  19   monetary damages, restitution, disgorgement and injunctive relief among other
  20   remedies. Claiming that D&D’s business model is “unfair” and “abusive” in
  21   violation of the CFPA, the Bureau claims that D&D is obligated to monitor the
  22   independent lead generators and lead purchasers with whom D&D does business to
  23   ensure that those third parties do not violate the CFPA. The Bureau’s vicarious
  24   liability theory is premised on its view that the loans provided by third party
  25   lenders are inconsistent with the terms and conditions initially disclosed to
  26   consumers by third party lead generators.
  27          B.    The motion to dismiss
  28          In response to this lawsuit, Defendants filed a motion to dismiss. In addition
                                                  1
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   1   to challenging the Bureau’s allegations based on lack of legal authority to proceed
   2   with this action in light of its unconstitutional structure, Defendants argued that
   3   imposing liability would violate Defendants’ due process rights due to lack of prior
                                                                           1
   4   notice on Defendants’ alleged duty to monitor third parties.            Defendants also
   5   argued that adoption of the Bureau’s novel interpretation of the CFPA would
   6   render the CFPA unconstitutionally vague as applied to Defendants.
   7         C.     The Court’s ruling on Defendants’ motion to dismiss
   8         Despite adopting Defendants’ view that the Bureau’s structure is
   9   constitutionally flawed, the Court nonetheless denied Defendants’ motion to
  10   dismiss. (D.E. 57, pp. 6-8.) While acknowledging the split of authority “across the
  11   country” regarding “whether the structure of the CFPB—particularly the powers
  12   accorded to the Director—violates Article II of the Constitution” (id., p. 5.), this
  13   Court held that the “CFPB may continue to perform its duties, including the
  14   prosecution of this case against Defendants[.]” (Id. at p. 8.) The Court reasoned
  15   that, consistent with the D.C. Circuit’s recent decision in PHH Corporation v.
  16   CFPB, 839 F.3d 1 (D.C. Cir. 2016) (petition for rehearing en banc filed Nov. 18,
  17   2016), the statutory limitation on the President’s power to remove the Bureau’s
  18   director can be severed from the law, thus preserving the Bureau’s ability to
  19   prosecute lawsuits. (D.E. 57, pp. 7-8.)
  20         In addition, this Court rejected Defendants’ argument that they lacked
  21   adequate notice that their conduct violated the CFPA. Addressing a facial
  22   challenge and an as-applied challenge to CFPA, the Court held that there is no
  23   constitutional vagueness infirmity here. Id. at pp. 9-13. The Court reasoned that
  24   “economic regulation is subject to a less strict vagueness test because its subject
  25

  26   1
         Defendants incorporated by reference the constitutional argument that was
  27   presented by co-Defendant Formichev in one of the two other related lawsuits that
       was the subject of this Court’s November 17, 2016 order. (D.E. 48, p. 1; CV 16-
  28   2724 PSG (Ex); D.E. 57, p. 1.)
                                                  2
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   1   matter is often more narrow and because businesses, which face economic
   2   demands to plan behavior carefully, can be expected to consult relevant legislation
   3   in advance of action.” Id. at p. 10 (citing Village of Hoffman Estates v. Flipside,
   4   Hoffman Estates, Inc., 455 U.S. 489, 498 (1982)). Invoking the cases decided
   5   under the Federal Trade Commission Act, the Court held that the case law under
   6   that statutory scheme provides adequate guidance to the public regarding the
   7   statutory terms used in the CFPA. (D.E. 57, pp. 10-11.) The Court also held that
   8   the CFPB had provided additional guidance to businesses in 2012 regarding its
   9   duty-to-monitor theory presented here. Id. at pp. 11-12. Finally, the Court held that
  10   even if the Bureau is advancing a new interpretation of the law, “due process
  11   concerns do not preclude an agency from prosecuting ‘borderline cases.’” Id. at p.
  12   12. Accordingly, the Court denied Defendants’ motion to dismiss. 2
  13         D.     The urgent need for appellate review
  14         Given the adverse ramifications of the Court’s holding, and its significance
  15   to the bench and bar, immediate appellate review of this Court’s order is necessary.
  16   Based on the Bureau’s attempt to obtain a judgment for millions of dollars against
  17   Defendants, in the absence of appellate review at this stage, Defendants’ right to
  18   meaningful appellate review would be severely compromised – if not eliminated –
  19   based on their inability to post a multi-million dollar, post-judgment appeal bond.3
  20         Appellate resolution of the constitutionality issues presented under the
  21   CFPA is particularly appropriate here because the structural validity of the Bureau
  22   is at issue in this case. If the Court of Appeals adopts Defendants’ position that the
  23   Bureau’s unconstitutionality precludes the Bureau from proceeding with this
  24

  25
       2
        While Defendants raised additional grounds in their motion to dismiss, those
  26
       grounds are not advanced in this motion.
  27
       3
         Defendants are being sued with respect to hundreds of thousands of separate loan
  28   transactions. (D.E. 37, ¶ 35.)
                                                  3
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   1   lawsuit, the case would necessarily be terminated, thus conserving significant
   2   judicial resources. In addition to its dispositive impact on this lawsuit, appellate
   3   resolution of these issues affects the entire financial services industry—a result
   4   with significant legal and practical consequences. Accordingly, based on the
   5   grounds articulated below, the Court should certify its order for appellate review in
   6   addition to staying further proceedings in this Court pending disposition of the
   7   appeal.
   8

   9   III.   LEGAL DISCUSSION
  10
              The interlocutory appeal statute that is the subject of this motion provides in
  11
       pertinent part as follows:
  12

  13
              “When a district judge, in making in a civil action an order not
  14          otherwise appealable under this section, shall be of the opinion that
  15
              such order involves a controlling question of law as to which there is
              substantial ground for difference of opinion and that an immediate
  16          appeal from the order may materially advance the ultimate
  17          termination of the litigation, he shall so state in writing in such order.
              The Court of Appeals which would have jurisdiction of an appeal of
  18          such action may thereupon, in its discretion, permit an appeal to be
  19          taken from such order, if application is made to it within ten days after
              the entry of the order: Provided, however, That application for an
  20          appeal hereunder shall not stay proceedings in the district court unless
  21          the district judge or the Court of Appeals or a judge thereof shall so
              order.” 28 U.S.C. § 1292(b).
  22

  23
              As discussed below, both of the questions presented here satisfy the
  24
       statutory criteria for interlocutory review. Therefore, the Court should certify both
  25
       questions. “A district-court order certifying a § 1292(b) appeal should state the
  26
       reasons that warrant appeal as a guide to court of appeals consideration of the
  27

  28

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   1   petition for permission to appeal.” 16 Charles Alan Wright & Arthur R. Miller,
   2   Federal Practice & Procedure § 3929 (3d ed. 1998).
   3
             A.     Given this Court’s holding that the Bureau’s structure violates
   4                the constitution, the Court should certify the related question
   5                regarding the proper remedy for this constitutional defect.

   6                1.     The proper remedy for the Bureau’s unconstitutional
   7                       structure presents a controlling legal issue.

   8
             In order to satisfy the first statutory requirement, the case must present “a
   9
       controlling question of law.” 28 U.S.C. § 1292(b). The threshold issue presented
  10
       here – the practical impact of the Court’s finding that the Bureau’s structure is
  11
       unconstitutional – is, in essence, one of standing—or, more accurately, the lack
  12
       thereof. If the Court of Appeals adopts Defendants’ position that such a
  13
       constitutional violation precludes the Bureau from proceeding with this lawsuit, the
  14
       prosecution of this lawsuit would necessarily be preempted. After all, “federal
  15
       courts may exercise power … only when adjudication is ‘consistent with a system
  16
       of separated powers[.]’” Allen v. Wright, 468 U.S. 737, 752 (1984) (addressing
  17
       requirements for standing) (citation omitted).
  18
             Questions of law that meet the “controlling question of law” requirement
  19
       include any number of issues that preclude the imposition of liability. While there
  20
       are numerous legal questions that may ultimately preclude liability – e.g., lack of
  21
       standing, preemption, statute of limitations, inability to satisfy the proper standard
  22
       of proof, etc. – all such issues present “controlling questions of law” that have
  23
       justified interlocutory appeals. See, e.g., United Airlines, Inc. v. Mesa Airlines,
  24
       Inc., 219 F.3d 605, 608 (7th Cir. 2000) (entertaining interlocutory appellate review
  25
       to decide whether federal law preempts state business-tort law); see also E. & J.
  26
       Gallo Winery v. EnCana Corp., 503 F.3d 1027, 1032–1033 (9th Cir. 2007) (district
  27
       court order based on the filed rate doctrine, barring challenges under state law to
  28

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   1   rates set by federal agencies, was certified because application of the doctrine to
   2   the case involved a controlling question of law); Johnson v. Burken, 930 F.2d
   3   1202, 1205 (7th Cir. 1991) (appellate review of the standard of proof under
   4   relevant statute); Rodriguez v. Banco Cent., 917 F.2d 664, 665 (1st Cir. 1990)
   5   (interlocutory review of accrual of a RICO cause of action for statute of limitations
   6   purposes) (Breyer, C.J.)).
   7         Applying these cases here, the standing issue raised here – whether the
   8   Bureau has the legal power to prosecute this lawsuit despite its unconstitutional
   9   structure – qualifies as a controlling legal question because its resolution will
  10   inevitably affect the future course of this litigation. The Bureau “lacks authority to
  11   bring this enforcement action because its composition violates the Constitution[al]”
  12   provisions discussed above. Federal Election Comm'n v. NRA Political Victory
  13   Fund, 6 F.3d 821, 822 (D.C. Cir. 1993). Therefore, the first statutory requirement
  14   for certification is met here.
  15         Otherwise, adoption of the no-harm, no-foul view advanced by the Bureau
  16   would nullify the significance of the constitutional provision that the Court found
  17   to have been violated. Rather than adopting the Bureau’s dismissive approach, the
  18   Supreme Court has held that remedies for constitutional violations should return
  19   one who was unconstitutionally denied an opportunity to the same position he
  20   would have occupied in the absence of the constitutional violation. See United
  21   States v. Virginia, 518 U.S. 515, 547 (1996) (the proper remedy for
  22   unconstitutional exclusion of women from educational opportunity is to remedy
  23   the discriminatory effects of the past and to “bar like discrimination in the future”)
  24   (internal citations omitted). In other words, the Constitution demands that the
  25   remedy be tailored to the violation. See McKesson Corp. v. Div. of Alcoholic
  26   Beverages & Tobacco, 496 U.S. 18, 22, 31 (1990) (if a state collects a tax that
  27   discriminates against interstate commerce, the Due Process Clause mandates that
  28   the state provide backward-looking relief that fully removes the discriminatory
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   1   effects of the unconstitutional tax); Marbury v. Madison, 5 U.S. 137, 163 (1803)
   2   (there must be a proper remedy for the violation of a vested legal right).
   3         The only proper remedy for the constitutional violation found by this Court,
   4   based on the plaintiff’s flawed structure, is the dismissal of this lawsuit. Without a
   5   properly-constituted body, plaintiff has no legal capacity or standing to bring this
   6   action in the first place. This result is mandated by the rule that “[i]f the
   7   constitutional structure of our Government that protects individual liberty is
   8   compromised, individuals who suffer otherwise justiciable injury may object.”
   9   Bond v. United States, 131 S. Ct. 2355, 2365 (2011); see also Clinton v. City of
  10   New York, 524 U.S. 417, 450 (1998) (“Liberty is always at stake when one or more
  11   of the branches seek to transgress the separation of powers”) (Kennedy, J.,
  12   concurring). There is no point in objecting if such constitutional errors can be
  13   tossed aside as merely harmless.
  14         While the Bureau has managed to prosecute numerous lawsuits during the
  15   past few years without any consequence despite its flawed structure, that does not
  16   justify denying the relief requested here. Just as “[a] regulation’s age is no antidote
  17   to clear inconsistency with a statute” (Brown v. Gardner, 513 U.S. 115, 122
  18   (1994)), the Bureau “may not insulate itself from correction merely because it has
  19   not been corrected soon enough,” Summit Petroleum Corp. v. E.P.A., 690 F.3d
  20   733, 746 (6th Cir. 2012). That “sort of [multi]-year adverse possession …
  21   deservedly has no precedent in our jurisprudence.” Rapanos v. United States, 547
  22   U.S. 715, 752 (2006) (plurality op.). Consistent with Defendants’ view, the
  23   Supreme Court has “not hesitated to strike down provisions of law that either
  24   accrete to a single Branch powers more appropriately diffused among separate
  25   Branches or that undermine the authority and independence of one or another
  26   coordinate Branch.” Mistretta v. United States, 488 U.S. 361, 382 (1989).
  27         In sum, there are certain constitutional errors that are inherently structural –
  28   e.g., the denial of the right to a jury trial or an accused’s right to counsel – such
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   1   that their denial is reversible per se. The error found by this Court fits this
   2   category. At a minimum, this presents a controlling legal question that justifies
   3   interlocutory review.
   4
                    2.     A substantial basis exists for difference of opinion regarding
   5                       the proper remedy for the constitutional defect found by the
   6                       Court.

   7
             With respect to the second criterion for certification, substantial grounds for
   8
       difference of opinion exist where reasonable jurists might disagree on the
   9
       resolution of an issue. This factor can be satisfied by demonstrating that either (a)
  10
       the appeal presents a novel issue on which fair-minded jurists might differ or (b)
  11
       courts that have considered the issue are divided. See Reese v. BP Exploration
  12
       (Alaska) Inc., 643 F.3d 681, 688 (9th Cir. 2011). Both of these alternatives are
  13
       satisfied here.
  14
             While the PHH court did not “consider the legal ramifications of [its]
  15
       decision for past CFPB rules or for past agency enforcement actions” (PHH, 839
  16
       F.3d at 39, fn. 19), the impact of the Bureau’s unconstitutional structure is an issue
  17
       on which fair-minded jurists can disagree. For example, the Bureau’s attempt to
  18
       relegate the constitutional defect at issue here to a harmless error category is based
  19
       on the premise of administrative efficiency. While adoption of Defendants’ view
  20
       may admittedly cause administrative inefficiency in light of the pending lawsuits
  21
       filed by the Bureau, administrative efficiency is never a reason to withhold the
  22
       proper remedy when a constitutional violation is established. “The Constitution’s
  23
       structure requires a stability which transcends the convenience of the moment.”
  24
       Clinton, 524 U.S. at 449 (Kennedy, J., concurring). “[T]he fact that a given law or
  25
       procedure is efficient, convenient, and useful in facilitating functions of
  26
       government, standing alone, will not save it if it is contrary to the Constitution.”
  27
       INS v. Chadha, 462 U.S. 919, 944 (1983). Rather, “the Constitution protects us
  28

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   1   from our own best intentions: It divides power among sovereigns and among
   2   branches of government precisely so that we may resist the temptation to
   3   concentrate power in one location as an expedient solution to the crisis of the day.”
   4   New York v. United States, 505 U.S. 144, 187 (1992). Therefore, once the Court
   5   adopted Defendants’ position that the Bureau is structurally defective, the Court’s
   6   failure to allow a proper remedy for this violation presents a novel issue on which
   7   fair-minded jurists can disagree. This is further evidenced by the contrary view
   8   endorsed in other cases. See NRA Political Victory Fund, 6 F.3d at 822
   9   (“appellants raise the constitutional challenge as a defense to an enforcement
  10   action, and we are aware of no theory that would permit us to declare the
  11   Commission’s structure unconstitutional without providing relief to the appellants
  12   in this case”); see also CFPB v. Gordon, 819 F.3d 1179, 1198-1204 (9th Cir. 2016)
  13   (Ikuta, J., dissenting) (adopting the appellant’s view and rejecting the majority’s
  14   view regarding the legal effect of the unconstitutional recess appointment of the
  15   CFPB’s director).
  16         In sum, the no-harm, no-foul view advanced by the Bureau cries out for
  17   interlocutory review. The second criterion under section 1292(b) is satisfied here.
  18
                    3.     Resolution of the proper remedy for the Bureau’s
  19                       unconstitutional structure would materially advance the
  20                       litigation.

  21
             As discussed above, before certifying an appeal under section 1292(b), the
  22
       Court must determine whether the interlocutory appeal “may materially advance
  23
       the ultimate termination of the litigation.” 28 U.S.C. § 1292(b). However, there is
  24
       no requirement “that the interlocutory appeal have a final, dispositive effect on the
  25
       litigation[.]” Reese, 643 F.3d at 688. This is consistent with the permissive
  26
       language used by the statute -- that “an immediate appeal from the order may
  27
       materially advance the ultimate termination of the litigation.” 28 U.S.C. § 1292(b).
  28

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   1   If “interlocutory reversal might save time for the district court, and time and
   2   expense for the litigants,” appellate review should be entertained. Johnson, 930
   3   F.2d at 1206 (emphasis added) (addressing the related issue as to what constitutes a
   4   controlling question of law); id. at 1205 (noting that threshold questions, by their
   5   nature, “may materially advance the ultimate termination of the litigation”); see
   6   also Kuehner v. Dickinson & Co., 84 F.3d 316, 319 (9th Cir. 1996) (order requiring
   7   parties to arbitrate involved “controlling question of law” even though, by its
   8   nature, the order could not have disposed of the case).
   9         Applying these principles, district court decisions on motions to dismiss can
  10   be ideal candidates for appeal pursuant to section 1292(b). See Tuazon v. R.J.
  11   Reynolds Tobacco Co., 433 F.3d 1163, 1168 (9th Cir. 2006) (denial of dismissal
  12   motion based on personal jurisdiction and forum non conveniens issues). Appellate
  13   resolution of liability issues, when presented prior to a damages determination,
  14   materially advances the ultimate disposition of the litigation; e.g., an immediate
  15   appeal that results in reversal of a district court decision finding liability avoids
  16   unnecessary delay and expense in taking evidence on the damages issues. See
  17   Steering Committee v. United States, 6 F.3d 572, 575 & fn. 1 (9th Cir. 1993); see
  18   also State of Calif. Dept. of Toxic Substances Control v. Hearthside Residential
  19   Corp., 613 F.3d 910, 912-913 (9th Cir. 2010) (appellate review entertained under §
  20   1292(b) to determine as a matter of first impression that “owner and operator”
  21   liability for CERCLA cleanup costs lies with owner at the time such costs are
  22   incurred). Finally, because no trial date has been set, this fact further justifies the
  23   need for certification. See Shurance v. Planning Control Int'l, Inc., 839 F.2d 1347,
  24   1348 (9th Cir. 1988) (relief denied under section 1292(b) where trial was
  25   scheduled to begin months later).
  26

  27                                          * * * *
  28

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   1         Based on the foregoing analysis, all of the requirements for certification are
   2   met here, thus justifying interlocutory appellate review as to the first issue
   3   presented. In fact, it is in the interest of both sides to obtain interlocutory relief at
   4   this time. Given the Court’s adoption of some of the arguments presented by each
   5   side, both sides need to obtain the authoritative view of the Court of Appeals
   6   before the case progresses further. Putting aside the effect of a debatable lower
   7   court ruling on the dynamics of settlement negotiations, both sides have a similar
   8   interest in conserving time and money on a trial that leads to a judgment that may
   9   be reversed due to an erroneous ruling on a controlling question of law.
  10         An interlocutory appeal will achieve significant efficiencies, by moving the
  11   litigation towards resolution more quickly and by saving costs and promoting
  12   judicial economy. Therefore, the motion for certification should be granted on the
  13   first issue presented.
  14
             B.     In addition, the Court should certify the constitutional questions
  15                presented under the void-for-vagueness doctrine.
  16
                    1.     Identifying and applying the proper test to evaluate
  17                       Defendants’ vagueness argument presents another
  18                       controlling legal question.

  19         The Bureau successfully argued in this case that Hoffman Estates, 455 U.S.
  20   489 imposes a low-threshold test in evaluating Defendants’ due process argument
  21   based on the vagueness doctrine. (D.E. 48, p. 5.) The Court adopted the Bureau’s
  22   view (D.E. 57, p.10), rejecting Defendants’ constitutional argument.
  23         This legal analysis satisfies the first requirement for interlocutory appeal
  24   because the legal issue presented here – the proper test for evaluating the void-for-
  25   vagueness challenge – is a controlling legal question. While the Bureau relied on
  26   Hoffman Estates, the validity of that obsolete decision and its application here are
  27   highly suspect. That case held that, in evaluating vagueness challenges, “assuming
  28   the enactment implicates no constitutionally protected conduct,” the court should
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   1
       uphold the challenge “only if the enactment is impermissibly vague in all of its

   2
       applications.” Hoffman Estates, at 494-495 & fn. 7. Here, however, while false

   3
       advertising is admittedly not a constitutionally protected category of speech, the

   4   remaining allegations presented here are not immune from such constitutional

   5   scrutiny.4 In sum, the initial inquiry in identifying the proper test for evaluating

   6   Defendants’ void-for-vagueness argument presents a controlling legal question,

   7   thus satisfying the first requirement under section 1292.

   8
                    2.     A substantial basis exists for difference of opinion regarding
   9                       the constitutional due process issue presented here.
  10
             In attacking Defendants’ as-applied challenge, the Bureau successfully
  11
       argued that “the CFPA is explicit in its prohibition of unfair and abusive acts and
  12
       practices, and the statute itself sets forth the elements of both claims. Defendants
  13
       have therefore had notice of the elements of prohibited conduct since … the date
  14
       the CFPA became law.” (D.E. 48, p. 4.) Judging by this argument (which was
  15
       adopted by the Court), the Bureau believes that facial validity of a statute
  16
       necessarily precludes a party from presenting an as-applied challenge.
  17
             While some courts have adopted the Bureau’s approach, it is analytically
  18
       flawed. In Palmer v. A.H. Robins Co., 684 P.2d 187 (Colo. 1984), for example, the
  19
       Colorado Supreme Court examined the language of the state’s punitive damages
  20
       statute in evaluating whether the application of that statute – whose facial validity
  21
       was also challenged – violated the defendant’s due process rights. Id. at 214-215.
  22

  23

  24   4
        Moreover, the test adopted in Hoffman Estates is obsolete in light of the recent
  25   decision in Johnson v. United States, 135 S. Ct. 2551 (2015). As Justice Scalia
       explained in the majority opinion, the Court’s decisions “squarely contradict the
  26   theory that a vague provision is constitutional merely because there is some
  27   conduct that clearly falls within the provision’s grasp.” Id. at 2561; see also id. at
       2580 (confirming that the majority has jettisoned the test adopted in Village of
  28   Hoffman Estate) (Alito, J., dissenting).
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   1
       While that court adopted the Bureau’s analytical approach in evaluating as-applied

   2
       challenges (by examining the statutory language), this approach ignores the basic

   3
       rule that a statute may be unconstitutional as applied, even if it is facially valid.

   4   (D.E. 57, pp. 10-11.)

   5         This Court’s ruling further highlights the need for appellate review on this

   6   point. In rejecting Defendants’ as-applied challenge, the Court cited case law from

   7   the FTCA context to point out prior judicial interpretations of the statutory terms

   8   under the FTCA, focusing on whether Defendants were on notice regarding what

   9   the statutory language required. (D.E. 57, p. 10.) The Court’s reasoning, however,

  10   did not address the more critical aspect of the vagueness doctrine.

  11         A law can be unconstitutionally vague “for either of two independent

  12   reasons.” Hill v. Colorado, 530 U.S. 703, 732 (2000). A law is impermissibly

  13   vague “if it authorizes or even encourages arbitrary and discriminatory

  14   enforcement,” id., Kolender v. Lawson, 461 U.S. 352, 357-358 (1983), or if it

  15   “fails to give a person of ordinary intelligence fair notice” of what is prohibited,

  16   Papachristou v. City of Jacksonville, 405 U.S. 156, 162 (1972) (quoting United

  17   States v. Hariss, 347 U.S. 612, 617 (1954)).

  18         While the Court addressed the second flaw, even if we assume the Bureau’s
  19   interpretation of the statutory law is correct, the CFPA statute is nonetheless
  20   invalid because it encourages discriminatory enforcement. Under this “more
  21   important aspect of the vagueness doctrine” (Kolender, 461 U.S. at 357-358 (citing
  22   Smith v. Goguen, 415 U.S. 566, 574 (1974)), a law is impermissible if it allows or
  23   encourages law enforcement to administer the law – e.g., based on their own eye-
  24   of-the-beholder test in interpreting or applying the law – as they see fit. This
  25   concern is so critical that the identity of the decision-maker (an administrative
  26   agency, the court or the jury) does not sanitize or eliminate the potential arbitrary
  27   enforcement of an otherwise valid statute. See, e.g., Papachristou v. City of
  28   Jacksonville, 405 U.S. 156, 170 (1972) (finding Florida vagrancy statute
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   1
       unconstitutionally vague in part due to the arbitrariness it permits by “police and

   2
       the courts”); Giacco v. Pennsylvania, 382 U.S. 399, 402-03 (1966) (statute leaves

   3
       “judges and jurors” too much discretion); Connally v. General Construction Co.,

   4   269 U.S. 385, 392 (1926) (noting that a statute’s critical terms must be sufficiently

   5   clear because an “important element cannot be left to conjecture, or be supplied by

   6   either the court or the jury”) (internal citation omitted).

   7         With respect to the risk of arbitrary enforcement, neither the prior FTCA

   8   cases nor the CFPB’s guidelines (D.E. 57, pp. 11-12) eliminate the practical, legal

   9   implication of the new interpretation of the law advanced by the CFPB. To the

  10   contrary, the Bureau’s unilateral power to obtain significant funding without

  11   traditional congressional oversight (12 U.S.C. § 5497(a)(2)(C)) exacerbates the

  12   risk of arbitrary enforcement in the absence of financial accountability. Far from

  13   resolving those concerns, the self-generated guidelines of the CFPB create other

  14   constitutional cans of worms because it is “contrary to fundamental principles of

  15   separation of powers to permit the person who promulgates a law to interpret it as

  16   well.” Talk Am., Inc. v. Mich. Bell Tele. Co., 564 U.S. 50, 68 (2011) (Scalia, J.,

  17   concurring); accord, Perez v. Mortg. Bankers Ass’n, 135 S. Ct. 1199, 1217-1220

  18   (2014) (Thomas, J., concurring in the judgment) (explaining the separation-of-
  19   powers concerns with adopting an agency’s interpretation of the law).
  20         In any event, even if we assume that the CFPA statute is not ambiguous,
  21   Defendants cannot be held liable in this case due to the Bureau’s novel
  22   interpretation of that non-ambiguous law. Here’s why:
  23         In Bouie v. City of Columbia, 378 U.S. 347 (1964), the Supreme Court
  24   recognized that even if the text of the applicable statute is clear, where the statute
  25   is “unforeseeably and retroactively expanded by judicial construction,” this
  26   presents a “potentially greater deprivation of the right to fair notice” than the
  27   garden-variety vagueness case where “the uncertainty ... resulted from vague or
  28   overbroad language in the statute itself.” Id. at 351-352 (internal citations omitted).
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   1
       Therefore, even if we accept the Bureau’s argument that the statute is not vague,

   2
       Defendants cannot be held liable in this case. See BMW of North America, Inc. v.

   3
       Gore, 517 U.S. 559, 574, fn. 22 (1996) (noting that, under Bouie, “retroactive

   4   application of new construction of statute violate[s] due process”); see also Rabe v.

   5   Washington, 405 U.S. 313, 315-316 (1972) (conviction reversed on vagueness

   6   ground where state Supreme Court’s interpretation failed to give defendant “fair

   7   notice that criminal liability is dependent upon” the location where the allegedly

   8   obscene film was displayed by defendant).

   9         To summarize, the constitutional due process issues presented here satisfy

  10   the second requirement for interlocutory review of the void-for-vagueness issue.

  11
                    3.     Resolution of the void-for-vagueness issue would materially
  12                       advance the litigation.
  13
             If the Court of Appeals adopts Defendants’ void-for-vagueness argument,
  14
       the net effect of that holding would be the entry of judgment in Defendants’ favor.
  15
       After all, if Defendants’ due process rights were violated based on the grounds
  16
       invoked by Defendants, the Bureau cannot pursue this lawsuit. The resolution of
  17
       this dispositive issue would necessarily advance the litigation by terminating this
  18
       lawsuit, thus satisfying the last requirement for interlocutory review.
  19

  20         C.     In addition to certifying its decision for interlocutory appellate
  21                review, this Court should stay further proceedings in this court
                    pending the completion of appellate proceedings.
  22

  23         “A trial court may, with propriety, find it is efficient for its own docket and
  24   the fairest course for the parties to enter a stay of an action before it, pending
  25   resolution of independent proceedings which bear upon the case.” See Leyva v.
  26   Certified Grocers of Cal., Ltd., 593 F.2d 857, 863 (9th Cir. 1979). “Where it is
  27   proposed that a pending proceeding be stayed, the competing interests which will
  28

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   1   be affected by the granting or refusal to grant a stay must be weighed. Among
   2   these competing interests are the possible damage which may result from the
   3   granting of a stay, the hardship or inequity which a party may suffer in being
   4   required to go forward, and the orderly course of justice measured in terms of the
   5   simplifying or complicating of issues, proof, and questions of law which could be
   6   expected to result from a stay.” Filtrol Corp. v. Kelleher, 467 F.2d 242, 244 (9th
   7   Cir. 1972) (internal quotation marks and citations omitted).
   8         Under this balancing test, “a stronger showing of one element may offset a
   9   weaker showing of another.” Alliance for the Wild Rockies v. Cottrell, 632 F.3d
  10   1127, 1131 (9th Cir. 2011) (addressing preliminary injunction standard). It is
  11   “clear,” however, that “to justify a stay, petitioners need not demonstrate that it is
  12   more likely than not that they will win on the merits.” Leiva-Perez v. Holder, 640
  13   F.3d 962, 966 (9th Cir. 2011) (per curiam) (stay of removal). Applying these
  14   principles here, this Court should issue a stay based on the following analysis in
  15   order to “promote economy of time and effort for itself, for counsel, and for
  16   litigants.” Filtrol Corp., 467 F.2d at 244.
  17

  18
                    1.     The balance of hardships tips decidedly in favor of a stay
                           pending the resolution of appellate proceedings. Otherwise,
  19                       Defendants will suffer irreparable injury.
  20
             Absent a stay, the parties will be forced to continue forward with merits-
  21
       based discovery, not to mention motion practice and extensive trial preparations.
  22
       The burdens attendant with that discovery, motion and trial preparation will be
  23
       particularly acute, given the large universe of documents previously sought by the
  24
       Bureau during the administrative phase of this case. In addition, Defendants will
  25
       need to seek comparably extensive discovery in connection with the issues of
  26
       liability and damages.
  27

  28

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   1         “The advantages of immediate appeal increase with the probabilities of
   2   prompt reversal, the length of the district court proceedings saved by reversal of an
   3   erroneous ruling, and the substantiality of the burdens imposed on the parties by a
   4   wrong ruling.” Wright & Miller, supra, § 3930. Here, that balance weighs
   5   decisively toward certification and stay. Prompt reversal of the order would render
   6   unnecessary virtually all of this litigation, substantially lessening the burdens on
   7   both the parties and the Court. Given the relatively early stage of this complicated,
   8   fact-intensive case involving numerous witnesses and a large universe of
   9   documents, an interlocutory appeal would not prejudice the Bureau.
  10
                    2.     Serious questions are presented by Defendants’ request for
  11                       interlocutory appeal.
  12
             Defendants have a sufficient likelihood of success on the merits to support
  13
       the issuance of a stay because their threshold arguments raise serious legal
  14
       questions in terms of the application of the pertinent provisions of the federal
  15
       Constitution. As acknowledged by this Court, “the CFPB has provided much
  16
       fodder for constitutional objection in the years since its creation,” further
  17
       underscoring the appropriateness of a stay in this case. (D.E. 57, p. 6.)
  18
             The constitutional issues, of course, are not only of substantial importance to
  19
       the parties here, but to the entire financial services industry throughout the fifty
  20
       states who are struggling with the Bureau’s interpretation of the law. Given the
  21
       serious and important questions raised by the Court’s order, a stay is warranted.
  22

  23                3.     The public interest weighs in favor of a stay.
  24
             Finally, a stay would serve important interests of sound and fair judicial
  25
       administration. The public interest lies in proper resolution of the important issues
  26
       raised in this case, and issuance of stay would avoid wasting resources on a lawsuit
  27
       which might be dismissed on appeal.
  28

                                                  17
            DEFENDANTS’ MOTION FOR CERTIFICATION OF INTERLOCUTORY APPEAL & CONCOMITANT STAY
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   1         Otherwise, based on Defendants’ inability to obtain a likely multi-million
   2   dollar appeal bond, requiring Defendants to challenge an adverse judgment after a
   3   full-blown trial would undermine Defendants’ right to a meaningful appeal.
   4   Forcing a party to incur the expense of litigation before its interlocutory appeal is
   5   heard may, in practice, render the appeal illusory or moot (e.g., if Defendants are
   6   forced into bankruptcy). As a result, the balance tips sharply in favor of a stay.
   7

   8   IV.   CONCLUSION
   9
  10         Defendants respectfully seek certification by this Court in order to explore
  11   appellate review of the recent adverse ruling on their motion to dismiss.
  12   Accordingly, the motion should be granted. In lieu of amending its November 17,
  13   2016 order by certifying that order for interlocutory appellate review (Fed. R. App.
  14   Proc. 5(a)(3)), the Court should adopt Defendants’ proposed order. The Court
  15   should also stay further proceedings in this Court pending completion of appellate
  16   proceedings.
  17

  18
                                        Respectfully submitted,

  19   DATED: December 27, 2016         WILSON, ELSER, MOSKOWITZ,
  20
                                          EDELMAN & DICKER LLP

  21

  22                                    By: /s/ Robert Cooper
                                               Robert Cooper
  23                                           Attorneys for Defendants,
  24                                           D and D Marketing, Inc., d/b/a T3Leads,
                                               Grigor Demirchyan, and Marina
  25                                           Demirchyan
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                                                  18
            DEFENDANTS’ MOTION FOR CERTIFICATION OF INTERLOCUTORY APPEAL & CONCOMITANT STAY
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